  23-30242-hcm Doc#223 Filed 06/24/23 Entered 06/24/23 23:20:22 Imaged Certificate of
                                  Notice Pg 1 of 4
                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                                  Bankruptcy Case
                                                                                  23−30242−hcm
                                                                             No.:
                                                                     Chapter No.: 11
                                                                           Judge: H. Christopher Mott
IN RE: J.A.R. Concrete, Inc , Debtor(s)




                                         NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

     at   us−courts.webex.com/meet/Mott, through Cisco WebEx Meetings application

     on   7/26/23 at 01:00 PM

     Hearing to Consider and Act Upon the Following: (Related Document(s): 207 Motion for Relief from Stay
     (30 Day Waiver Language) (14 Day Objection Language) ( Filing Fee: $ 188.00 ) filed by Miguel Alejandro
     Flores for Creditor Ruth Herrera. Hearing Scheduled For 7/26/2023 at 01:00 PM at
     us−courts.webex.com/meet/Mott, through the Cisco WebEx Meetings application. Parties may also attend the
     hearing by phone at 650−479−3207 with access code 160 357 6609#. Any exhibits to be considered by the
     Court should be mailed (2 copies) 5 days prior to the hearing to the Courtroom Deputy at Ronda Farrar, U.S.
     Bankruptcy Court, 903 San Jacinto Blvd., #322, Austin, TX 78701. (Farrar, Ronda) . A TIMELY−FILED
     RESPONSE TO THE MOTION IS NECESSARY FOR A HEARING TO BE HELD.....If a reset is
     requested and approved or an Agreed Order is submitted prior to the hearing, no appearance is required.


Dated: 6/22/23
                                                           Barry D. Knight
                                                           Clerk, U. S. Bankruptcy Court




                                                                                     [Hearing Notice (BK)−HCM] [NtchrgBKhcmap]
        23-30242-hcm Doc#223 Filed 06/24/23 Entered 06/24/23 23:20:22 Imaged Certificate of
                                        Notice Pg 2 of 4
                                                              United States Bankruptcy Court
                                                                Western District of Texas
In re:                                                                                                                 Case No. 23-30242-hcm
J.A.R. Concrete, Inc                                                                                                   Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0542-3                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jun 22, 2023                                               Form ID: 510                                                               Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 24, 2023:
Recip ID                  Recipient Name and Address
db                      + J.A.R. Concrete, Inc, 8000 Escobar Dr., El Paso, TX 79907-1854

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 24, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 22, 2023 at the address(es) listed below:
Name                               Email Address
Autumn D. Highsmith
                                   on behalf of Interested Party Texas Department of Transportation autumn.highsmith@oag.texas.gov

Carlos A. Miranda
                                   on behalf of Creditor GECU cmiranda@eptxlawyers.com wendy@eptxlawyers.com

Christopher V. Arisco
                                   on behalf of Creditor Wallwork Financial carisco@padfieldstout.com carisco@livepad.com

Clayton D. Ketter
                                   on behalf of Creditor Deere & Company cdketter@phillipsmurrah.com
                                   mdmills@phillipsmurrah.com;lmsivertsen@phillipsmurrah.com

Clyde A. Pine, Jr.
                                   on behalf of Creditor 4Rivers Equipment LLC pine@mgmsg.com, clyde.pine@gmail.com

Don Stecker
                                   on behalf of Creditor City Of El Paso don.stecker@lgbs.com
       23-30242-hcm Doc#223 Filed 06/24/23 Entered 06/24/23 23:20:22 Imaged Certificate of
                                       Notice Pg 3 of 4
District/off: 0542-3                                       User: admin                                                               Page 2 of 3
Date Rcvd: Jun 22, 2023                                    Form ID: 510                                                             Total Noticed: 1
E. P. Bud Kirk
                          on behalf of Debtor J.A.R. Concrete Inc budkirk@aol.com

Erin Coughlin
                          on behalf of U.S. Trustee United States Trustee - EP12 erin.coughlin@usdoj.gov
                          roxana.peterson@usdoj.gov;carey.a.tompkins@usdoj.gov;omar.e.jones@usdoj.gov

Gregory Marc Weinstein
                          on behalf of Creditor United States Fire Insurance Company gweinstein@weinrad.com
                          cspringer@weinrad.com;smcfadin@weinrad.com

Gregory Marc Weinstein
                          on behalf of Creditor Crum & Forster gweinstein@weinrad.com cspringer@weinrad.com;smcfadin@weinrad.com

James Michael Feuille
                          on behalf of Creditor Tri-State Electric LTD. jfeu@scotthulse.com tmar@scotthulse.com;jcor@scotthulse.com

James W. Brewer
                          on behalf of Creditor Wells Fargo Equipment Finance Inc. jbrewer@kempsmith.com, tschoemer@kempsmith.com

Jarom J Yates
                          on behalf of Creditor 1st Source Bank jarom.yates@haynesboone.com kim.morzak@haynesboone.com

Jason Sansone
                          on behalf of Creditor Deere & Company jasansone@phillipsmurrah.com
                          r47439@notify.bestcase.com;mdmills@phillipsmurrah.com;lmsivertsen@phillipsmurrah.com

John Robert Nelson
                          on behalf of Attorney Caterpillar Financial Services Corporation c/o John Nelson Esq. jnelson@dickinsonwright.com,
                          rgarza@dickinsonwright.com;mdallaire@dickinsonwright.com

Joseph D Austin
                          on behalf of Creditor Nueces Power Equipment joseph.austin@kellyhart.com

Larry Chek
                          on behalf of Creditor First-Citizens Bank and Trust Company lchek@pamlaw.com mislas@pamlaw.com

Layla D Milligan
                          on behalf of Interested Party Texas Department of Transportation Layla.Milligan@oag.texas.gov

Megan M. Adeyemo
                          on behalf of Creditor Mitsubishi Capital America Inc. madeyemo@grsm.com, asoto@grsm.com

Merwan N Bhatti
                          on behalf of Creditor Accent Landscape Contractors Inc. bhatti@mgmsg.com, scantu@mgmsg.com

Michael J. Shane
                          on behalf of Creditor Clowe & Cowan of El Paso LLC mshane@eplawyers.com, bsilva@eplawyers.com

Michael J. Shane
                          on behalf of Creditor C & R Distributing LLC mshane@eplawyers.com, bsilva@eplawyers.com

Michael J. Shane
                          on behalf of Creditor WeldBros Company mshane@eplawyers.com bsilva@eplawyers.com

Michelle D. Esparza
                          on behalf of Attorney Caterpillar Financial Services Corporation c/o John Nelson Esq. mesparza@dickinsonwright.com,
                          ksaldivar@dickinsonwright.com

Miguel Alejandro Flores
                          on behalf of Creditor Ruth Herrera tanzy.borrego@gmail.com
                          tanzy.mail@gmail.com;TB.Notices@gmail.com;r50005@notify.bestcase.com;ign@tanzyborrego.com;TanzyBorregoLawOffices
                          @jubileebk.net;tanzy.borrego@outlook.com

Miguel Alejandro Flores
                          on behalf of Creditor The Ricardo Cordova Living Trust FBO Alec Julian Herrera tanzy.borrego@gmail.com
                          tanzy.mail@gmail.com;TB.Notices@gmail.com;r50005@notify.bestcase.com;ign@tanzyborrego.com;TanzyBorregoLawOffices
                          @jubileebk.net;tanzy.borrego@outlook.com

Misti Lachelle Beanland
                          on behalf of Creditor Structural and Steel Products Inc. beanland@mssattorneys.com

Patrick Michael Lynch
                          on behalf of Creditor Ally Bank plynch@qslwm.com jtownzen@qslwm.com

Stephen Wilcox
                          on behalf of Creditor Ford Motor Credit Company LLC swilcox@wilcoxlaw.net krw77@sbcglobal.net;kraudry@wilcoxlaw.net

Steven B. Bass
                          on behalf of Creditor United States Internal Revenue Service Steven.Bass@usdoj.gov tina.travieso@usdoj.gov

Steven B. Bass
                          on behalf of Creditor Small Business Administration Steven.Bass@usdoj.gov tina.travieso@usdoj.gov
       23-30242-hcm Doc#223 Filed 06/24/23 Entered 06/24/23 23:20:22 Imaged Certificate of
                                       Notice Pg 4 of 4
District/off: 0542-3                                           User: admin                                                           Page 3 of 3
Date Rcvd: Jun 22, 2023                                        Form ID: 510                                                         Total Noticed: 1
United States Trustee - EP12
                               USTPRegion07.SN.ECF@usdoj.gov

William Steven Bryant
                               on behalf of Creditor Camino Real Regional Mobility Authority sbryant@lockelord.com jpelayo@lockelord.com


TOTAL: 33
